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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) CASE NO. 20-CR-00249 RS
14                                                    )
             Plaintiff,                               )
15                                                    ) STIPULATION AND [PROPOSED] ORDER
        v.                                            ) CONTINUING STATUS CONFERENCE
16                                                    )
     ROWLAND MARCUS ANDRADE,                          )
17                                                    )
             Defendant.                               )
18                                                    )

19

20           This matter is currently set for a status conference on March 9, 2021, at 2:30pm. Since this
21 Court ruled on defendant’s Motion to Compel via an Order entered on January 26, 2021, the government

22 has continued to produce discovery. The government’s most recent production was sent to the defense

23 on February 1, 2021. The defense team is currently reviewing those materials. The government is

24 currently processing and preparing its next production of documents.

25           The discovery in the case is voluminous, and the parties request an approximate 60-day
26 continuance in order to provide the defense with the opportunity to continue to review these discovery

27 materials, and for the government to continue producing documents. The parties also request that the

28 Court exclude time from the Speedy Trial Act deadlines on the basis that the proposed continuance will

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 1 allow for the effective preparation of counsel. The parties agree that the ends of justice served by this

 2 continuance outweigh the best interest of the public and the defendant in a speedy trial. The parties

 3 further agree that the failure to grant this continuance would unreasonably deny counsel for defendant

 4 the reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 5 Accordingly, the parties agree that the period from March 9. 2021 through May 12, 2021, or the date of

 6 the continued Status Conference, should be excluded in accordance with the provisions of the Speedy

 7 Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), for effective preparation of defense counsel, taking

 8 into account the exercise of due diligence.

 9          IT IS SO STIPULATED.

10 DATED: March 3, 2021                                          Respectfully submitted,

11                                                               STEPHANIE M. HINDS
                                                                 Acting United States Attorney
12
                                                                        /s/
13                                                               ANDREW F. DAWSON
                                                                 Assistant United States Attorney
14

15                                                               ZUBER LAWLER & DEL DUCA LLP

16                                                                      /s/
                                                                 BRIAN J. BECK
17                                                               Attorney for Defendant

18

19                                           [PROPOSED] ORDER

20          For the reasons stated in the stipulation of the parties above, and for good cause shown, the Court

21 hereby orders that the Status Conference currently set for March 9, 2021 is vacated and reset for May

22 12, 2021, at 2:30 p.m. It is further ordered that time is excluded, pursuant to 18 U.S.C. §§ 3161(h)(7)(A)

23 and (B)(iv) through May 12, 2021.

24

25 DATED:
                                                         HONORABLE RICHARD SEEBORG
26                                                       United States District Judge

27

28

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